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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No. 1:19-cv-02387-WJM-KLM

BOB LEWIS,

       Plaintiff(s),

v.

GOOGLE, INC., a Delaware Corporation, and
YOUTUBE, LLC, a Delaware limited liability company,

       Defendant(s).


          PLAINTIFFS RESPONSE TO DEFENDANTS MOTION TO DISMISS



                                     I.     INTRODUCTION

       All but one of the Defendants arguments contained in their dismissal motion appears to

rely on their hope the Court didn’t fully read or analyze the Plaintiff’s Second Amended

Complaint (SAC). This theory is conclusively demonstrated by virtue of the Defendants

combination of their many mis-characterizations and/or reframes of the SAC’s well-pled factual

allegations as conclusory statements while at the same time pretending they don’t exist.

       Additionally, the Defendants legal and factual arguments rely on the Court reading and

analyzing them in a vacuum, without considering how the dismissal motion internally contradicts

itself multiple times. Further, the Defendants make multiple admissions against interest that are

fatal to their view the Plaintiff has failed to state a claim, by virtue of the Defendant’s multiple

documented internal contradictions and/or arguing the merits of the Plaintiff’s claims, rather than

arguing no claim exists.

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       After reading and shepardizing this response (and the Defendants case citations contained

in their dismissal motion) this Court will quickly realize the Defendants dismissal motion

misapplies case law multiple times. In two instances, The Defendants erroneous and flawed legal

analysis goes so far as citing California state court decisions, then pretend they’re somehow

controlling herein. Therefore, for the reasons stated below, this Court should deny Defendant’s

Motion to Dismiss on all counts except to the one the Plaintiff stipulates to dismissal

(Unconscionable Contract).

       As a side note, had the Defendants not been correct in that single instance, the Plaintiff

would consider seeking attorneys fees, sanctions, and/or move to strike the entire dismissal

motion.



                                    II.       BACKGROUND

       Plaintiff incorporates the facts and/or allegations contained in the SAC as background

herein by reference as Exhibit 1.



                                      III.    ARGUMENT



1.     The Defendants Reframe The SAC’s Factual Allegations as Conclusory Statements:

The courts have long held that under both F.R.C.P. 12(b)(1) and 12(b)(6), court must accept

complaint’s well-pleaded factual allegations as true and draw reasonable inferences from those

allegations in plaintiff’s favor. See El-Khader v. Perryman, 264 F. Supp. 2d 645 (N.D. Ill.

2003), aff'd, 366 F.3d 562 (7th Cir. 2004).

       Further, in 2007, the U.S. Supreme Court held that while a complaint attacked by a Rule


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12(b)(6) motion to dismiss does not need detailed factual allegations, a plaintiff's obligation to

provide the "grounds"of his "entitlement to relief" requires more than labels and conclusions, and

a formulaic recitation of a cause of action's elements will not do. Factual allegations must be

enough to raise a right to relief above the speculative level on the assumption that all of the

complaint's allegations are true. (See Bell Atl.Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955,

167 L. Ed. 2d 929,(2007) U.S. LEXIS 5901, 75 U.S.L.W. 4337, 2007-1 Trade Cas.

(CCH)P75,709, 68 Fed. R. Serv. 3d (Callaghan) 661, 20 Fla. L. Weekly Fed.S 267, 41 Comm.

Reg. (P & F) 567)

       The Court went on to state that once a claim has been stated adequately, it may be

supported by showing any set of facts consistent with the allegations in the complaint. Once a

claim for relief has been stated, a plaintiff "receives the benefit of imagination, so long as the

hypotheses are consistent with the complaint” Id @ 563

       Then the court stated that Rule 12(b)(6) does not countenance dismissals based on a

judge's disbelief of a complaint's factual allegations; a well-pleaded complaint may proceed even

if it appears that a recovery is very remote and unlikely. Id @ 567.

       With that in mind, the 11th Edition of the Black’s Law Dictionary defines the term

conclusory in pertinent part as:

           Expressing a factual inference without stating the underlying facts on
           which the inference is based.

       In the case at bar, a review of the SAC shows it contains approximately 44 pages of

factual allegations supported by 68 exhibits, which exceed 320 pages. Further, while the

Defendants Motion claims statements in the SAC are conclusory, the Defendants fail to

specifically cite a single example where any of the numbered 183 factual allegations are


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conclusory and/or devoid of factual support via exhibits. In fact, the Defendants de facto admit

the SAC is well-plead in their previously filed motion for a page limit extension, which by itself,

is fatal to Defendant’s repeated false assertion the SAC is not well-pled, contains no factual

allegations, is baseless, and/or is based on conclusory statements alone.

       These indisputable facts conclusively refute the Defendants false claims the SAC

contains conclusory statements devoid underlying factual and/or support via exhibit. (Exhibit 1)



2.     Defendants Claim They Cannot Be Foreign/Domestic State Actors is Misguided:

While normally private parties cannot be held as state actors, there are, however, exceptional

circumstances in which there is a constitutional right to protection. Such a right may arise if a

"special relationship" exists between the state and the individual (See Sargi v. Kent City Bd. of

Educ., 70 F.3d 907, 910-13 (6th Cir. 1995))

       In 1995, Tenth Circuit Court of Appeals articulated the joint-action test to determine

when a private party can be considered a state actor when it stated: state action is also present if a

private party is a "willful participant in joint action with the State or its agents." (See Gallagher

v. Neil Young Freedom Concert, 49 F.3d 1442 @ 1453, 1995 U.S. App. LEXIS 3983 quoting:

Dennis v. Sparks, 449 U.S. 24, 27 (1980)) In the joint action tests, the courts examine whether

state officials and private parties have acted in concert in effecting a particular deprivation of

constitutional rights. (quoting: Collins v. Womancare, 878 F.2d 1145, 1154 (9th Cir. 1989), cert.

denied, 493 U.S. 1056 (1990); Sims v. Jefferson Downs Racing Ass'n, 778 F.2d 1068, 1076-80

(5th Cir. 1985)).

       The Gallagher Court goes on to state: In applying this test, some courts have adopted the



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requirements for establishing a conspiracy under 42 U.S.C §1983. These courts conclude that a

requirement of the joint action charge is that both public and private actors share a common,

unconstitutional goal." (quoting: Cunningham v. Seattle Ctr. for Mental Health, Inc., 924 F.2d

106, 107 (9th Cir. 1991))

       Then in Jackson v. Curry County, the New Mexico Federal District Court dealt with a

case very similar to the case at bar regarding a private party acting in a state capacity. In that

case, the Court found the private party’s action constituted state action. The Court applied the

nexus test from the Gallagher Court stating: In Gallagher, the Tenth Circuit explained that

"under the nexus test, a plaintiff must demonstrate that 'there is a sufficiently close nexus'

between the government and the challenged conduct such that the conduct 'may be fairly treated

as that of the State itself.'" Gallagher 49 F.3d at 1448. Specifically, under the nexus test, "a state

normally can be held responsible for a private decision 'only when it has exercised coercive

power or has provided such significant encouragement, either overt or covert, that the choice

must in law be deemed to be that of the State.'" Gallagher, 49 F.3d at 1448. The "required

inquiry" under the nexus test "is fact-specific." Gallagher, 49 F.3d at 1448. (See Jackson v.

Curry Cty., 343 F. Supp. 3D 1103 @ 1110-1111, 2018 U.S. Dist. LEXIS 186955, 2018 WL

5669162)

       In 2017, the United States Supreme Court in Lewis v. Clarke considered individuals

acting on behalf of foreign sovereigns on American soil as state actors. In that case, the state

actor in question was an employee and a member of an Indian Tribe, but sued in his personal

capacity. Like the current case at bar, the foreign sovereign was never named as a party. In that

case, the Court stated that a state actor of a foreign sovereign could be held accountable, in their



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personal capacity, for torts committed on U.S. soil. (See Lewis v. Clarke, 137 S. Ct. 1285, 197

L. Ed. 2d 631, 2017 U.S. LEXIS 2796, 85 U.S.L.W. 4215, 101 Empl. Prac. Dec. (CCH) P45,785,

26 Fla. L. Weekly Fed. S 549, 2017 WL 1447161)

       The Defendant’s reliance on Green v. AOL and Howard v. AOL as legal support is

misguided (pgs 6-7). Neither case is dispositive and/or relevant herein because neither involved

the defendants jointly acting pursuant to foreign/domestic government agreements and/or laws.

Whereas in this case, the Plaintiff specifically alleges facts related to Defendants joint action

with multiple governments.

       While the case at bar is one of first impression against a tech company, the case law

herein demonstrates the Defendants can be state actors of foreign sovereigns for purposes of 42

U.S.C §1983.

       Further, the defendants argument relies on the false assumption that a case of first

impression is a failure to state a claim.

       Contrary to the Defendant’s many misrepresentations of the Plaintiff’s complaint, the

SAC specifically and factually alleges the Defendants are state actors (as contemplated by the

Gallagher Court) and are violating the Plaintiff’s and other U.S. citizens free speech rights under

the U.S. Constitution by virtue of enforcing foreign governments hate speech laws and/or

otherwise censoring/silencing American’s free speech on the basis of hate speech, which doesn’t

legally exist under U.S. Law (see argument five below). (Exhibit 1 pgs. 6-25, allegations 19-79

– including exhibits)

       To clarify, the SAC factually alleges the Defendants are state actors of the U.S.

government, acting in their individual capacity to censor the Plaintiff on that basis. (Exhibit 1,



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pgs. 47-50, including exhibits) Thus, the Defendants, acting in their individual capacity is

precisely why no government is a named party herein.



3.     The Defendants Misapply Price v. Socialist People’s Libyan Arab Jamahiriya, 294

F.3d 82, 96 (D.C. Cir. 2002): This case named a foreign government defendant, didn’t involve

conduct on U.S. soil, and involved the Foreign Sovereign Immunities Act (FSIA).

       These facts are contrasted with the case at bar, by virtue that herein no foreign

government is a named party, all conduct is alleged to have occurred on U.S. soil, and doesn’t

involved FSIA. Additionally, even if these facts were relevant, they’re not controlling. Further,

this case contains is no dicta or holding that bars legal claims against individual private party

state actors who violate 42 U.S.C §1983 on U.S. soil.



4.     YouTube.com and Google.com Are Places of Public Accommodation: The Plaintiff’s

contention that the Defendant’s websites are places of public accommodation for civil rights

purposes pursuant to 42 U.S.C. § 2000a is also a case of first impression.

       In the case at bar, the Defendants are pleading this Court apply an archaic 20th century

and an onerously-literal analysis this issue by limiting 42 U.S.C. § 2000a’s application to

physical places only.

       Yet, the Defendants’ case citations from other circuits aren’t controlling here, but as a

case of first impression, they’re also not dispositive and/or are irrelevant. For example, the

Defendants citation of Noah v. AOL Time Warner Inc is irrelevant because it involved internet

chat rooms devoid of commercial activity and/or ability to screen movies/TV shows/videos,

AOL chat rooms are not the type of commercial online theater the Defendants operate. The

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Defendants use Noah v. AOL Time Warner Inc to apply an apples to oranges misapplication in

hopes the Court adopts their misinterpretation to avoid accountability for their national origin

and other unlawful discrimination against the Plaintiff.

         In the case at bar, the Plaintiff is requesting this Court apply the same level of 21st century

conceptual analysis that the U.S. Supreme Court applied in Packingham v. North Carolina.

         In that case, the Packingham Court extended constitutional free speech protections to

social media websites such as YouTube.com when it stated: a fundamental principle of the First

Amendment is that all persons have access to places where they can speak and listen, and then,

after reflection, speak and listen once more. The Court has sought to protect the right to speak in

this spatial context. A basic rule, for example, is that a street or a park is a quintessential forum

for the exercise of First Amendment rights. Even in the modern era, these places are still

essential venues for public gatherings to celebrate some views, to protest others, or simply to

learn and inquire. While in the past there may have been difficulty in identifying the most

important places (in a spatial sense) for the exchange of views, today the answer is clear. It is

cyberspace—the “vast democratic forums of the Internet” in general, and social media in

particular. See Packingham v. North Carolina, 137 S. Ct. 1730 at 1736, 198 L. Ed. 2D 273,

(2017)

         Thus, with the Packingham Court analysis in mind and considering the case at bar is a

case of first impression, the Plaintiff requests this Court apply a two-prong test to determine

whether the Defendants websites are places of public accommodation. First, analyze the

Defendants conduct, then, look to Court precedent in other areas of law to see if websites have

ever been found to be places of public accommodation.



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       In this context, the Plaintiff addresses the second prong first. While there’s no controlling

examples of Courts holding websites as places of public accommodation pursuant to 42 U.S.C. §

2000a, there’s plenty of precedent determining websites as places of public accommodation

under ADA. The Ninth Circuit earlier this year stated: no individual shall be discriminated

against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

privileges, advantages, or accommodations of any place of public accommodation by any person

who owns, leases, or leases to, or operates a place of public accommodation. We agree with the

district court that the ADA applies to Domino's website and app. (See Robles v. Domino's

Pizza, LLC, 913 F.3d 898, (2019))

       The First Circuit's decision in Carparts Distrib. Ctr. v. Auto. Wholesaler's Assoc., which

held that "places of public accommodation" are not limited to "actual physical structures." (See

Carparts Distrib. Ctr. v. Auto. Wholesaler's Ass'n, 37 F.3d 12, at 19 (1994)). The First

Circuit explained it would be irrational to conclude that persons who enter an office to purchase

services are protected by the ADA, but persons who purchase the same services over the

telephone or by mail are not. Congress could not have intended such an absurd result.

       The Plaintiff contends the Carparts’ Court “websites as public accommodation”

reasoning applies with equal force in the case at bar to services purchased over the internet, such

as video services sold and/or otherwise offered by the Defendants website, YouTube.com.

       The Plaintiff contends that in a society where business is increasingly conducted online,

excluding businesses that sell and/or otherwise offer services through internet websites as places

of public accommodation runs afoul of the purpose of the 42 U.S.C. § 2000a and would severely

frustrate Congress's intent that individuals have the ability to fully enjoy the goods, services,



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privileges, and advantages available equal to other members of the general public free from

unlawful discrimination.

         Now let’s address the first prong of the test.

         The Defendants own conduct and/or contractual terms admit they’re de facto places of

public accommodation for purposes of civil rights protections as codified in 42 USC § 2000a.

(See pg. 7 of Plaintiff’s Affidavit, filed on 12/2/2019, attached and incorporated herein by

reference as Exhibit 2). Further, the Defendant’s dismissal motion doesn’t dispute the SAC

factually alleges YouTube.com offers closed captioning and other ADA accommodations for

disabled viewers. (Exhibit 1)

         The only factual difference between YouTube.com and a physical place of public

accommodation is that YouTube.com’s theater exists online, not at a brick and mortar location.

In all other aspects, YouTube.com completely fits the definition of a theater under 42 U.S.C. §

2000a.

         As a case of first impression, the Plaintiff contends this two prong test supports his view

the Defendants operate a 21st Century online place of public accommodation and supports the

claim YouTube.com can be held liable for discrimination under 42 U.S.C. § 2000a.



5.       Policies That Allow Censorship and/or Punitive Actions Against Americans Based

on Hate Speech Are National Origin Discrimination: For this issue, the Plaintiff contends

Colorado law is controlling here. C.R.S. 24-34-601(a) states:

            It is a discriminatory practice and unlawful for a person, directly or
            indirectly, to refuse, withhold from, or deny to an individual or a group,
            because of disability, race, creed, color, sex, sexual orientation, marital
            status, national origin, or ancestry, the full and equal enjoyment of the
            goods, services, facilities, privileges, advantages, or accommodations of a

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           place of public accommodation

           or, directly or indirectly, to publish, circulate, issue, display, post, or mail
           any written, electronic, or printed communication, notice, or advertisement
           that indicates that the full and equal enjoyment of the goods, services,
           facilities, privileges, advantages, or accommodations of a place of public
           accommodation will be refused, withheld from, or denied an individual or
           that an individual's patronage or presence at a place of public
           accommodation is unwelcome, objectionable, unacceptable, or undesirable
           because of disability, race, creed, color, sex, sexual orientation, marital
           status, national origin, or ancestry.

       With this in mind, in 2015, the United States Supreme Court recognized that in some

cases conduct cannot be divorced from status. This is so when the conduct is so closely

correlated with the status that it is engaged in exclusively or predominantly by persons who have

that particular status. (See Craig v. Masterpiece Cakeshop, Inc., 2015 COA 115, 370 P.3d 272,

rev'd on other grounds sub nom. Masterpiece Cakeshop Ltd. v. Colo. Civil Rights Comm'n, --

U.S. --, 138 S. Ct. 1719, 201 L. Ed. 2d 35 (2018)).

       In this context, the U.S. Supreme Court has repeatedly and consistently ruled hate speech

is legally protected free speech under the First Amendment. In 2017, The Supreme Court

unanimously reaffirmed this when it held speech may not be banned on the ground that it

expresses ideas that offend. (See Matal v. Tam, 137 S. Ct. 1744, 198 L. Ed. 2d 366, 2017 U.S.

LEXIS 3872, 122 U.S.P.Q.2D (BNA) 1757, 85 U.S.L.W. 4389, 45 Media L. Rep. 1849, 26 Fla.

L. Weekly Fed. S 686, 2017 WL 2621315)

       Free speech principles, codified in the U.S. Constitution and many federal/state laws are

indisputably core and inseparable foundations of the U.S. government, culture, and way of life.

Truly, free speech and opposition to hate speech censorship is uniquely and inseparably

ingrained in the American identity and what it means to be an American citizen as much as

baseball and apple pie.

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       Thus, the Defendants, as a place of public accommodation (YouTube.com) by posting,

emailing, and/or enforcing policies that allow punitive action against the Plaintiff on the basis of

“hate speech” constitutes unlawful national origin discrimination against him as an American

citizen under both Colorado and U.S. federal law.



6.     Defendants Dismissal Motion Stipulates Plaintiff’s Standing to Challenge the CDA:

While the Defendants are correct the Plaintiff’s required to show an adverse impact to have

standing to challenge the CDA, their motion (pgs 4-5) admits to the SAC’s factual allegations

that the Defendants censored, removed and/or demonetized the Plaintiff’s videos, confirming the

Defendant’s conduct creates Plaintiff’s standing under the adverse impact theory. These

admissions and/or confirmations are fatal to their view the Plaintiff lacks standing to challenge

the CDA.

       This is reinforced by the Defendants use of the CDA as a liability defense for their

unconstitutional, discriminatory, and otherwise tortious actions against the Plaintiff on page 23

of their dismissal motion.

       Additionally, the SAC includes many factual allegations, supported by exhibits, that the

Defendants conduct adversely impacted him that conclusively establish standing to

constitutionally challenge the liability protections in the CDA. (Exhibit 1, pgs 32-43)



7.     SAC Pleads All Necessary Elements of Fraud: In 2013, The Colorado Supreme Court

stated that in order prevail on a fraud claim the Plaintiff must establish five elements: (1) the

defendant made a false representation of a material fact; (2) the one making the representation

knew it was false; (3) the person to whom the representation was made was ignorant of the

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falsity; (4) the representation was made with the intention that it be acted upon; and (5) the

reliance resulted in damage to the plaintiff. (See Bristol Bay Prods., LLC v. Lampack, 2013 CO

60, 312 P.3d 1155, at 1160 (Colo. 2013))

       In the case at bar, one example of the Defendants fraud is as follows: Defendants claim

on the YouTube “About” web page they support freedom of speech. Further, Defendants

repeatedly publicly proclaim they support American values and laws, including the American

principal of freedom of speech. The Defendants’ CEO, Sundar Pichai even testified to this under

oath before the U.S. Congress. (element 1)

        Yet, Defendants knew these statements were false because they actively enforce foreign

“hate speech” and/or other censorship laws against U.S. citizens on behalf of foreign

governments. (element 2) As a result of this active concealment, the Plaintiff was ignorant of

Defendants’ pervasively intertwined agency relationships with foreign governments (element 3).

Further, Defendants made these false representations with the intention of the Plaintiff,

ignorantly acting upon them (element 4). As a direct result of Defendants’ fraud by omission, the

Plaintiff’s channel was demonetized, algorithm censored, had videos removed, had subscribers

removed, and was otherwise concealed and/or censored causing ongoing potentially irreparable

financial, reputation, and brand damage that continues today (element 5). (See Exhibit 1)



8.     Defendants General Denials of the SAC’s Factual Allegations As Conclusory Does

Not Constitute Failure To State A Claim Under Fifth Cause of Action: The Defendant’s

argument herein presents triable issues and/or otherwise argue against the Plaintiff’s claims on

the merits, they are not arguments that support a failure to state a claim.

       Further, the Defendants fraud and intentional discrimination as described herein and in

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the SAC demonstrate a cause of action for Breach of Implied Covenant of Good Faith and Fair

Dealing.



9.     Plaintiff Stipulates Unconscionable Contract is Not A Viable Cause of Action: While

the Plaintiff adequately pleads the Defendants contracts/terms of service are unconscionable, the

Plaintiff stipulates the Defendants are correct that this is not a cause of action.

       The Defendants argument on this issue appears to be the only one contained in their

Motion with any semblance of merit.



10.    Plaintiff as a Dual Role Consumer/Competitor has Validly Pled Landham Act

Claims: Contrary to the Defendants false assertions, Plaintiff’s SAC pleads factual allegations

that the Defendants falsely interfere with advertisement of the Plaintiff’s channel by employing

Algorithm other forms of technological censorship and/ or concealment to conceal Plaintiff’s

channel from any perspective audience.

       The Plaintiff stipulates to the Defendant’s assertion he’s a consumer. However, the

Plaintiff, by virtue of being a video producer who publishes videos on YouTube.com’s website

and other websites, is also a competitor, by virtue of both he and YouTube.com creating,

publishing and advertising their videos. To be clear, the Plaintiff’s status is that of dual

role/capacity, both consumer and competitor. These designations aren’t mutually exclusive.

       The Defendant’s reliance on Prager Univ. v. Google LLC, is both misguided and not

controlling, since the case at bar isn’t located in California and the Prager Court never addressed

dual role plaintiffs. Further, Lexmark is also irrelevant, for the same reasons.




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11.     The Defendants Challenge to the Tortious Interference with Economic Advantage

Claim Applies the Incorrect Legal Standard: The Defendants position herein erroneously

cites California state cases as somehow controlling in a federal action far removed from the State

of California (Crown Imps., LLC v. Superior Court, 168 Cal. Rptr. 3d 228, 235 (Cal. Ct. App.

2014) - California State Court of Appeals and Korea Supply Co.v. Lockheed Martin Corp., 63

P.3d 937, 957 (Cal. 2003) - California State Supreme Court).

        These erroneous and obviously irrelevant case citations and all arguments based on them

are not only completely without merit under Colorado law and this forum, they appear to be

boiler plate language lifted from another California action.



12.     Plaintiff is Entitled to Declaratory Relief: Despite the Defendants desperate attempt to

persuade this Court to agree that their efforts to obfuscate and reframe contested and triable

issues of fact as failures to state a claim, the Plaintiff is entitled to declaratory judgment herein.



13.     Defendants Cannot Use a CDA defense because it’s Unconstitutional on It’s Face

and/or “As Applied” to the Plaintiff: The First Amendment of the United States Constitution

states in pertinent part: “Congress shall make no law… ...abridging the freedom of speech, or of

the press.”

        Yet, that’s exactly what Section 230 of the Communications Decency Act does.

        This is a well-settled issue: In 1965, the U.S. Supreme Court stated a function of free

speech under our system of government is to invite dispute. It may indeed best serve its high

purpose when it induces a condition of unrest, creates dissatisfaction with conditions as they are,

or even stirs people to anger. Speech is often provocative and challenging. It may strike at


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prejudices and preconceptions and have profound unsettling effects as it presses for acceptance

of an idea. That is why freedom of speech is protected against censorship or punishment. There

is no room under our Constitution for a more restrictive view. (See Cox v. Louisiana, 379 U.S.

536 at 551-552, 85 S. Ct. 453, 13 L. Ed. 2D 471 (1965))

          Back in 2000 the U.S. Supreme Court stated: Laws designed or intended to suppress or

restrict expression of specific speakers contradict basic principles of Constitution’s First

Amendment. (See United States v. Playboy Entm't Group, 529 U.S. 803 at 812, 120 S. Ct. 1878,

146 L. Ed. 2d 865, (2000))

          In 2017, the U.S. Supreme Court extended free speech protections to social media

platforms such as those owned by the Defendants. The Court stated: “A fundamental principle of

the First Amendment is that all persons have access to places where they can speak and listen,

and then, after reflection, speak and listen once more. The Court has sought to protect the right to

speak in this spatial context. A basic rule, for example, is that a street or a park is a quintessential

forum for the exercise of First Amendment rights. Even in the modern era, these places are still

essential venues for public gatherings to celebrate some views, to protest others, or simply to

learn and inquire. While in the past there may have been difficulty in identifying the most

important places (in a spatial sense) for the exchange of views, today the answer is clear. It is

cyberspace—the “vast democratic forums of the Internet” in general, and social media in

particular. (See Packingham v. North Carolina, 137 S. Ct. 1730 at 1736, 198 L. Ed. 2D 273,

(2017))

          Yet, 47 U.S.C. § 230(c) states in pertinent part:

             “No provider or user of an interactive computer service shall be held liable
             on account of any action voluntarily taken in good faith to restrict access to


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           or availability of material that the provider or user considers to be obscene,
           lewd, lascivious, filthy, excessively violent, harassing, or otherwise
           objectionable, whether or not such material is constitutionally
           protected…”

       In the case at bar and elsewhere the Defendants and other big tech companies have a

well-established history of misusing Section 230 as a shield to avoid accountability from liability

for unlawful discrimination by virtue of chilling Americans’ first amendment free speech rights,

individually and on behalf of foreign governments. (See Exhibit 1)

       On this subject, it’s well-settled that the First Amendment of the U.S. Constitution and

multiple United States Supreme Courts over a half a century, have repeatedly and consistently

held that any law that suppresses free speech violates the U.S. Constitution.

       Thus, 47 U.S.C. § 230(c) is unconstitutional either facially and/or as applied, to the

Plaintiff, by virtue of enabling the Defendants to silence the Plaintiff’s constitutionally protected

free speech on their social media platform fraudulently on behalf of a foreign government

without any civil liability or recourse.(See Exhibit 1)



14.    Defendants Agreement With Plaintiff Confers a Legal Right Monetize His Channel:

While the Defendants dismissal motion claims the Plaintiff has no right to monetize and/or

ability to run advertisements on his channel, they admit in their motion they originally agreed to

monetize the Plaintiff’s YouTube channel. (Pgs 1-4)

       This agreement, whether or not the Court determines the rest of the Defendants

contractual terms are unconscionable, constitutes a valid legal contract between the Plaintiff and

the Defendants and thus, at the very least conferring on the Plaintiff a legal right to monetize his

channel pursuant to that contract.


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       Civil Rights law states under 42 U.S.C. § 1981:

           All persons within the jurisdiction of the United States shall have the same
           right in every State and Territory to make and enforce contracts, to sue, be
           parties, give evidence, and to the full and equal benefit of all laws and
           proceedings for the security of persons and property as is enjoyed by white
           citizens, and shall be subject to like punishment, pains, penalties, taxes,
           licenses, and exactions of every kind, and to no other.

           For purposes of this section, the term “make and enforce contracts”
           includes the making, performance, modification, and termination of
           contracts, and the enjoyment of all benefits, privileges, terms, and
           conditions of the contractual relationship.

           The rights protected by this section are protected against impairment by
           nongovernmental discrimination and impairment under color of State law.


       In application, the courts have stated an express cause of action for damages created by

42 U.S.C. § 1983 constitutes exclusive federal remedy for violation of rights guaranteed in 42

U.S.C. § 1981. (See Arendale v. City of Memphis, 519 F.3d 587, 2008 FED App. 0116P, 91

Empl. Prac. Dec. (CCH) P43150, 103 Fair Empl. Prac. Cas. (BNA) 40 (6th Cir. 2008), reh'g, en

banc, denied, 2008 U.S. App. LEXIS 18430 (6th Cir. July 31, 2008))

       Further, the Courts have stated because Congress neither explicitly created remedy

against state actors under 42 U.S.C. § 1981(c), nor expressed its intent to overrule Supreme

Court precedent finding no such remedy, an express cause of action for damages is created by 42

U.S.C. § 1983 and was exclusive remedy for violation of rights guaranteed in § 1981 by state

actors. (See McGovern v. City of Philadelphia, 554 F.3d 114, 92 Empl. Prac. Dec. (CCH)

P43481, 105 Fair Empl. Prac. Cas. (BNA) 481 (3d Cir. 2009), amended, 2009 U.S. App. LEXIS

2293 (3d Cir. Feb. 5, 2009)) Also, the Courts have stated that a cause of action based upon

alleged conspiracy can be posited upon 42 U.S.C. § 1981 or 1983. (See Mizell v. North Broward

Hospital Dist., 427 F.2d 468 (5th Cir. 1970).

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       Additionally, the Courts have held that the even if the Plaintiff’s SAC is defective by

failing to claim a cause of action pursuant to 42 U.S.C. § 1981, he is allowed to amend his

complaint to claim relief under 42 U.S.C. § 1983 (See Bolden v. City of Topeka, 441 F.3d 1129

(10th Cir. 2006))

       Finally, the courts have also stated that 42 U.S.C. § 1981 protects Mexican-Americans

from discrimination. (See Sabala v. Western Gillette, Inc., 371 F. Supp. 385, 7 Empl. Prac. Dec.

(CCH) P9314, 7 Fair Empl. Prac. Cas. (BNA) 443 (S.D. Tex. 1974), aff'd in part and rev'd in

part, 516 F.2d 1251, 10 Empl. Prac. Dec. (CCH) P10360, 11 Fair Empl. Prac. Cas. (BNA) 98

(5th Cir. 1975))

       In the case at bar, not only is the Plaintiff a Mexican-American with brown skin, but the

Defendants admit they canceled the Plaintiff’s monetization contract.

       The only disagreement between the parties, in the case at bar, is whether or not this

cancellation was as the result of unlawful discrimination and/or retaliation against him, based on

his national origin, skin color, religion, or any other unlawful civil rights discrimination.



15.    The Defendants Legal Analysis and Factual Arguments Cannot Be Trusted: In the

case at bar, the Defendants, throughout their dismissal motion, misapply case law to the factual

allegations contained in the Plaintiff’s SAC. In two instances, the Defendants go so far as to

erroneously cite obviously irrelevant California state court cases as somehow controlling in this

federal action, filed and litigated nearly half a continent away.

       Also, throughout the Defendant’s dismissal motion they intentionally and falsely claim

the Plaintiff’s well and extensively pled SAC, which totals between 400 and 500 pages and is

supported by 68 exhibits, somehow doesn’t contain any factual allegations, is baseless, and/or

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conclusory. The Defendants misconception here not only doesn’t pass the straight face test…

it completely defies observable reality.

       Finally, the Defendants dismissal motion and other papers filed in this case contain

multiple de facto admissions that are fatal to many of the dismissal motion’s arguments.



                                     IV.     CONCLUSION

       Therefore, for the reasons stated herein, the Plaintiff requests the Court deny the

Defendants motion to dismiss on all grounds, except the Plaintiff’s stipulated position that the

Unconscionable claim is not a valid cause of action.




Respectfully submitted December 6, 2019.




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                                  CERTIFICATE OF SERVICE



       I hereby certify that on December 6, 2019, a true and correct copy of the foregoing

Plaintiff’s Response to The Defendants Motion To Dismiss was electronically filed with the

clerk of this Court using the CM/ECF system, which will electronically mail notice to the

following attorneys of record:

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